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                                                              FILED: April 26, 2022

                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

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                                           No. 19-2032
                                      (1:17-cv-00388-RDB)
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        IN RE: UNDER ARMOUR SECURITIES LITIGATION

        _________________________________________


        ABERDEEN CITY COUNCIL, as Administrating Authority for the North East
        Scotland Pension Fund; BUCKS COUNTY EMPLOYEES RETIREMENT
        FUND, Individually and on behalf of all others similarly situated

                    Plaintiffs - Appellants

        v.

        UNDER ARMOUR, INCORPORATED; KEVIN A. PLANK; LAWRENCE P.
        MOLLOY; BYRON K. ADAMS, JR.; GEORGE W. BODENHEIMER;
        DOUGLAS E. COLTHARP; KAREN W. KATZ; A. B. KRONGARD;
        WILLIAM R. MCDERMOTT; ERIC T. OLSON; HARVEY L. SANDERS; JP
        MORGAN SECURITIES, LLC; MERRILL LYNCH, PIERCE, FENNER &
        SMITH, INCORPORATED; WELLS FARGO SECURITIES, LLC; HSBC
        SECURITIES (USA) INC.; PNC CAPITAL MARKETS, LLC; BB&T CAPITAL
        MARKETS; SUNTRUST ROBINSON HUMPHREY, INC.; CITIGROUP
        GLOBAL MARKETS, INCORPORATED; GOLDMAN SACHS & COMPANY,
        LLC; REGIONS SECURITIES, LLC; SMBC NIKKO SECURITIES AMERICA,
        INC.

                    Defendants - Appellees

        and

        ANTHONY W. DEERING; BRAD DICKERSON
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                      Defendants

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                                           ORDER
                                      ___________________

              Upon consideration of the motion to voluntarily dismiss this case pursuant to

        Rule 42(b) of the Federal Rules of Appellate Procedure, and there appearing no

        opposition, the court grants the motion.

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk
